
723 S.E.2d 540 (2012)
STATE of North Carolina
v.
Ralph Edward GRAY.
No. 161P11.
Supreme Court of North Carolina.
March 8, 2012.
Robert C. Montgomery, Special Deputy Attorney General, for State of North Carolina.
David W. Andrews, Assistant Appellate Defender, for Gray, Ralph Edward.
Rick Shaffer, District Attorney, for State of North Carolina.

ORDER
Upon consideration of the petition filed by State of NC on the 25th of April 2011 for Writ of Supersedeas of the judgment of the Court of Appeals, the following order was entered and is hereby certified to the North Carolina Court of Appeals:
"Denied by order of the Court in conference, this the 8th of March 2012."
Upon consideration of the petition filed on the 25th of April 2011 by State of NC in this matter for discretionary review of the decision of the North Carolina Court of Appeals pursuant to G.S. 7A-31, the following order was entered and is hereby certified to the North Carolina Court of Appeals:
"Denied by order of the Court in conference, this the 8th of March 2012."
